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                                                      U.S. Department of Justice

                                                      Michael R. Sherwin
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                     October 1, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314


                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. On September 23, 2020, the government disclosed handwritten notes of former
Deputy Assistant Director Peter Strzok (23501 & 23503) that were obtained and analyzed by
USAO EDMO during the course of its review. During the review, agents for EDMO placed a
single yellow sticky note on each page of the notes with estimated dates (the notes themselves
are undated). Those two sticky notes were inadvertently not removed when the notes were
scanned.
        I am providing replacement versions of these documents, and ask that you destroy the
prior versions provided to you. We have determined, and confirmed with counsel for Peter
Strzok, that the content of the notes was not otherwise altered.
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        These materials are covered by the Protective Order entered by the Court on February 21,
2018.
                                            Sincerely,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            KENNETH C. KOHL
                                            Acting Principal Assistant United States Attorney

                                     By:           /s/
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
Enclosure
